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                            UNITED STATES DISTRICT COURT
                                         For the
                                 Southern District of Iowa


Robert Wolfe, II and Patricia Wolfe,                                          4:19-cv-0008
                                                            Civil Action No.: ______________

                                Plaintiffs,

vs.
                                                                   COMPLAINT
Donna M. Simpson and
Werner Enterprises, Inc.,

                                Defendants.


Plaintiffs, for their Complaint, state:

                                              PARTIES

        1. Plaintiffs Robert Wolfe II, and Patricia Wolfe have at all material times been residents

of Austin, Mower County, Minnesota.

        2. Defendant Donna Simpson has at all material times been a resident of Indianola,

Sunflower County, Mississippi.

        3. Defendant Werner Enterprises, Inc., is a corporation with its principal place of

business in Omaha, Douglas County, Nebraska.

                                          JURISDICTION

        4. The court has subject matter jurisdiction under 28 U.S.C. § 1332 because of diversity

of citizenship. The amount in controversy exceeds $75,000. The court has personal jurisdiction

over the parties because the accident giving rise to this lawsuit occurred in Polk County, Iowa.




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                                                   FACTS

       5. On February 17, 2018, Plaintiff Robert Wolfe II, was driving a motor vehicle in a

southbound direction on Interstate 35, at or near mile marker 100, in Polk County Iowa, with

Patricia Wolfe a front seat passenger.

       6. On February 17, 2018, Defendant Donna M. Simpson was driving a motor vehicle in a

southbound direction on Interstate 35, at or near mile marker 100, in Polk County Iowa, when

she rear-ended the Plaintiffs’ vehicle and caused a collision to occur between the two vehicles.

       7. The accident between the two vehicles was caused by Defendant Donna M. Simpson,

who was negligent in the following ways:

       (a)      failing to obey a stop light controlling traffic at the intersection of streets where
                the accident occurred;

       (b)      failing to yield to the right of way;

       (c)      failing to maintain control of her motor vehicle at all times;

       (d)      failing to maintain a proper lookout at all times.

       8. Because Defendant Werner Enterprises, Inc., was the owner of the vehicle driven by

Defendant Simpson, it is responsible for the acts of Ms. Simpson under Iowa Code § 321.493.

       9. As a result of Defendant’s negligence, Plaintiffs have sustained damages including

past and future medical expenses, permanent injury, past and future physical and emotional pain

and suffering, and past and future loss of enjoyment of life.

       10. As a result of the Defendants’ negligence, Plaintiff Patricia Wolfe has incurred a loss

of the society, companionship and consortium of her husband, Robert Wolfe II, because of the

injuries he received in said collision.


       WHEREFORE, Plaintiffs Robert Wolfe II and Patricia Wolfe respectfully request that

judgment be entered against Defendants in such amounts as will fairly and fully compensate

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Plaintiffs for the injuries and damages sustained and to be sustained, for interest as allowed by

law, and for the costs of this action.

                                          JURY DEMAND

       Plaintiffs requests trial by jury on all issues of fact.

                                                Respectfully submitted,


DATED: 1-7-19                                   ____________________________
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